     Case 6:06-cr-00026-JRH-CLR Document 1167 Filed 04/14/11 Page 1 of 1




                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION
SHEIKEL JAMISON,

       Movant,

V.                                       Case No.   CV611-006
                                                    CR606- 026
UNITED STATES OF AMERICA,

       Respondent.


         CORRECTED REPORT AND RECOMMENDATION

       The Court CORRECTS its earlier Report and Recommendation

(CV61 1-006 doc. 6) to correct the typographical errors on page 5:

citations there to "18 U.S.C. § 841(b)(1)(A)" and "18 U.S.C. §

841(b)(1)(B)" are replaced with "21 U.S.C. § 841(b)(1)(A)" and "21

U.S.C. § 841(b)(1)(B)."
       SO REPORTED AND RECOMMENDED this 14th day of

April, 2011.


                                        UNITED STATES MAGISTRATE JUDGE
                                        SOITFHERN DISTRICT of GEORGIA
